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[8applet] [Letter to Appellant]


                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION
                                     Sam M. Gibbons United States Courthouse
                                       801 North Florida Avenue, Suite 555
                                           Tampa, Florida 33602−3899

CHAS. G. KILCOYNE                                                                    Telephone:
Deputy−in−Charge                                                                     (813)−301− 5129


                                                  December 29, 2008



Dear Veatrice Farrell
Re: Case No. 8:07−bk−05406−KRM



   On December 23, 2008 you Veatrice Farrell filed a Notice of Appeal in the above−referenced case.

    When filing the "Designation of Record", as required by Fed. R. Bank. P. 8006, please indicate by document
number the items to be included in the record to the district court. However, it will not be necessary to provide a copy
of the items designated, unless otherwise directed to do so by separate notice. The Clerk's office will be transmitting
the record on appeal electronically.

   If you intend to designate a transcript, a Purchase Order for Transcript is available on the court’s web site at
www.flmb.uscourts.gov. Go to Forms and click on Purchase Order for Transcript. When ordering the transcript
please complete all of the items on the purchase order form and mail the form to the appropriate Court Reporter and
or Court Reporter Service. The Court Reporter Service for Chief Judge Glenn, Judge Paskay, and Judge McEwen is
Johnson Transcription Service, 7702 Lake Cypress Drive, Odessa, FL 33556, (813) 920−1466; Judge May and Judge
Williamson − Digital Audio Courtroom Reporting System. Requests for transcripts should be directed to a certified
court reporting transcription service. For further information regarding digital audio recording and/or request forms
for CD copies of hearings, please visit the court's web site at http://www.flmb.uscourts.gov/technology/default.htm.



                                                  FOR THE COURT
                                                  Jeanine F.
                                                  Deputy Clerk
